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 Doc. No.                 Plaintiff(s)       District(s) Suggested Reasons for Suggestion(s)
 Doc. 1,                  Barton, et al.     D.N.J.                 multiple defendants have NJ
 MDL No. 3089                                                          headquarters
                                                                    experienced handling
                                                                       pharmaceutical litigation
                                                                    geographically convenient
                                                                      with respect to headquarters
                                                                      of major manufacturer
                                                                      defendants (NJ, Pa.)
                                                                    major airports in and close
                                                                   to D.N.J.
 Doc. 5,                  Thomas/Woods       D.N.J.                 major defendants
 Case NJ/3:23-cv-                                                  headquartered in NJ
 20845                                                              NJ defendants named
                                                                      in numerous cases
                                                                    qualified judges assigned to
                                                                   cases who do not currently
                                                                   have an MDL
 Doc. 17, Case No.        Wight/Walker       W.D. Mo.               central location
 MOW/5:23-cv-06120                                                  experienced MDL judges
                                                                    lighter caseload than D.N.J.
                                                                    fewer MDLs than D.N.J.
 Doc. 140,                Yousefzaheh        E.D.N.Y. or N.D. Cal. E.D.N.Y.
 MDL No. 3089                                                       accessible
                                                                    experienced judges
                                                                    less congested docket

                                                                     N.D. Cal.
                                                                          lighter caseload than
                                                                             some other proposed
                                                                             districts, even with 16
                                                                             current MDLs
                                                                          experienced,
                                                                             sophisticated judges
                                                                          experience with
                                                                             marketing and sales
                                                                             MDLs
 Doc. 144,                Morgan             N.D. Fla.                experienced judge
 MDL No. 3089                                                          Pensacola a convenient
                                                                     forum
 Doc. 158,                Kleinman/Rourk     E.D. La.                 experienced MDL judge
 MDL No. 3089                                                         less congested docket
                                                                      convenience
 Doc. 176,                Kasparie/James     E.D. Pa.                 two defendants
 MDL No. 3089                                                           headquartered in E.D. Pa.


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                                                                      convenient/accessible
                                                                      relatively better court
                                                                        statistics
                                                                      experienced in
                                                                        handling MDLs
                                                                      judge assigned capable and
                                                                        has not had an MDL
 Doc. 179,                “Adkins”              E.D. Pa. or D.N.J.   E.D. Pa.
 MDL No. 3089              or “Anderson”                              has jurisdiction over
                          plaintiffs                                   Anderson defendants
                                                                      accessible and
                                                                       convenient
                                                                      capable and
                                                                       experienced staff

                                                                     D.N.J.
                                                                      has jurisdiction over
                                                                       certain Adkins defendants
                                                                      convenient
                                                                      home to multiple
                                                                       defendants
 Doc. 194,                Pack, Jung, McPhee,   N.D. Cal.             San Francisco has an airport,
 MDL No. 3089             Vorise, Chavez                               public transportation, and
                                                                       hotels
                                                                      California has a large
                                                                       population
                                                                      Judge Corley has experience
                                                                      with MDLs as a district judge
                                                                      and as a magistrate judge
 Doc. 207,                Cronin/Ozuzu          E.D.N.Y.              only two MDLs
 MDL No. 3089                                                         certain defendants are
                                                                       headquartered in NJ, Pa. and
                                                                       Ohio, near the E.D.N.Y.
                                                                      less congested docket
                                                                      easily accessible




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